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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

SAIM SARWAR,                                               :    CIVIL ACTION NO.
                                                           :    3:21-cv-01113-KAD
               Plaintiff,                                  :
                                                           :
VS.                                                        :
                                                           :
DEER FRIENDS LLC, A Connecticut                            :
Limited Liability Company D/B/A                            :
THE WHITE HEART,                                           :
                                                           :
               Defendant.                                  :       OCTOBER 20, 2021


                            PLAINTIFF’S NOTICE OF SETTLEMENT


       The Plaintiff hereby gives this Honorable Court notice that this matter has been resolved

by the parties and that the undersigned counsel anticipates filing a Voluntary Dismissal With

Prejudice within the next 60 days.

       Respectfully submitted this 20th day of OCTOBER, 2021.



                                             SAIM SARWAR, Plaintiff,
                                             By his attorney


                                              /s/ L. Kay Wilson_______________
                                             L. Kay Wilson (ct 16084)
                                             Wilson Law, LLC
                                             2842 Main Street, #332
                                             Glastonbury, CT 06033
                                             Tel: (860) 559-3733
                                             E-mail: Wilson@kaywilsonlaw.com




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                             CERTIFICATION OF SERVICE

The undersigned hereby certifies that on this date a copy of the foregoing NOTICE OF
SETTLEMENT was filed electronically and served by electronic service to those receiving
notices through the Court’s CM/ECF system. In addition, a copy was emailed to the owners of
the Defendant at the following email address:

Conley Rollins
conley@whitehartinn.com


                                           /s/ L. Kay Wilson, Esq.




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